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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                   MOTION FOR ADMISSION PRO HAC VICE


Case Number: 19-cv-02711

Case Title: Phillips et al v. Caliber Home Loans


                                       Affidavit of Movant

I, David A. Goodwin, an active member in good standing of the bar of the U.S. District Court for
the District of Minnesota, request that this Court admit pro hac vice Kristen G. Simplicio, an
attorney admitted to practice and currently in good standing in the U.S. District Court for (please
identify ONE specific district to which the attorney is admitted) the Eastern District of
California, but not admitted to the bar of this court, who will be counsel for the plaintiffs Stephen
Phillips and Mary Tourville-Phillips in the case listed above.

I am aware that the local rules of this court require that an active Minnesota resident, unless the
court grants a motion for a non-Minnesota resident to serve as local counsel, who is a member in
good standing of the bar of this court participate in the preparation and presentation of the case
listed above, and accept service of all papers served.

Check one of the following:

X I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

    I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the
case listed above, and accept service of all papers served as required by LR 83.5(d) should my
motion for a non-resident to serve as local counsel be granted by the court (sign and complete
information below and attach a completed Motion for Permission for a Non-Resident to Serve as
Local Counsel).

       Signature:_ /s/ David A. Goodwin              Date: 04/22/2021

       MN Attorney License #: 0386715




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                                Affidavit of Proposed Admittee


I, Kristen G. Simplicio, am currently a member in good standing of the U.S. District Court for
the (please identify ONE specific district to which you are admitted) the Eastern District of
California, but am not admitted to the bar of this court. I understand that if this Court grants me
admission pro hac vice, the moving attorney identified in this motion must participate in the
preparation and presentation of the case listed above, and must accept service of all papers
served as required by LR 83.5(d). I further understand that the District of Minnesota is an
electronic court and that I will receive service as required by Fed. R. Civ. P. 5(b) and 77(d) by
electronic means and I understand that electronic notice will be in lieu of service by mail.

Signature: /s/ Kristen G. Simplicio__________________________ Date: 04/22/2021______

Typed Name: Kristen G. Simplicio_________

Attorney License Number:263291_______________ issued by the State of California________

Federal Bar Number (if you have one): N/A

Law Firm Name: Tycko & Zavareei LLP_____________

Law Firm Address: 1828 L Street NW________________

                    Suite 1000______________________

                    Washington, D.C. 20036___________

Main phone: (202) 973-0900_______________             Direct line: (202) 417-3658____________

E-mail address: ksimplicio@tzlegal.com________




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